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 8 UNITED STATESOFAMERICA,                       )                                                 2
                                                 )                                                 q
 9                       plaintiff,              )                                                 :
                                                 )                                                 '
10          v.                                   )           2:10-CR-284-RLH (PAL)
                                                 )
11 JEFFREY THOM PSON,                            )
                                                 )
12                       Defendant.              )
13                                    O RDER O F FORFEITURE
14         On July 14,2011,defendantJEFFREY THOM PSON pled guilty to CokmtOne ofa Four-
15 CountCrim inalIndictm entcharginghim in CotmtOnewith ConspiracytoCom mitBankFraud in

16 violation ofTitle 18,United StatesCode,Sections 1344(1)atzd (2)and 1349 and agreed tothe
17 forfeitureofproperty setforth in theForfeiture Allegationsin the Criminallndictmentand Plea

18 A greem ent.Docket# l.

19         ThisCourtfindstIZMJEFFREY THOMPSON shallpayacriminalforfeituremoneyjudgment
20 of$1,626,907.00 in United StatesCurrency to theUnited SttesofAmerica,plzrsuantto Fed.R.
21 Crim.P.32.2(b)(1)arld(2),Title18,UnitedStatesCode,Section982(a)(2);Title18,UnitedStates
22 Code,Section981(a)(1)(C)andTitle28,UnitedStatesCode,Section2461(c);andTitle21,United
23 StatesCode,Section853û$.
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        v    Case 2:10-cr-00284-APG-PAL       Document 97     Filed 07/14/11   Page 2 of 2



     1       TH EREFORE,IT IS H EREBY ORD ERED ,A D JU D GED ,AN D D ECREED thatthe United

     2 Statesrecoverfrom JEFFREY THOM PSON acriminalforfeituremoneyjudgmentintheamount
     3 of$1,626,907.00 in Unied StatesCurrency.
     4       D A TED this   1 dayof /-./ z--            ,   2011.

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                                              > 1 D S ATES DISTRICT JUDGE
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